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flu/b DEMCON, lNC.,
Plaintiff,
v. No. 02-2702 B/P

ABOTT ASBESTOS, lNC. and
|V|ARKEL lNSURANCE CON|PANY, lNC.,

Defendants,

 

NlARKEL lNSURANCE CON|PANY, lNC.,
Third-Party Plaintiff,
v.

JASON WARDEN, LINDA WARDEN,
FLYNN WARDEN and RHONDA WARDEN,

v~_r\-\.r'~_¢-_d\_¢‘-_¢'~_/‘_#‘-rv

Third-Party Defendants.

 

CONSENT ORDER GRANT|NG SU|'V|MARY JUDGMENT
|N FAVOR OF MARKEL lNSURANCE CON|PANY

 

By consent and agreement, i\/iarke| insurance Company, the third-party piaintiff, and
F|ynn Warden and Rhonda Warden, the third-party defendants, announce to the Courtthat
there are no genuine issues of material fact existing among these parties and that i\/iarkei
insurance Company is entitled to judgment as a matter of |aw.

|T IS, THEREFORE, ORDERED that i\/|arke| insurance Company’s i\/iotion for

Summary Judgment against Fiynn Warden and Rhonda Warden is granted.

This document entered on the docket shesti co\npiiancs
with Ru|e 58 and/or 79{3) FRCP on "'\

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APPROVED:

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Attorney for I\/|arkei insurance Company

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Steven |_. Lef|<ovitz , fit W_¢.u/k_/
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Nashvii|e, TN 37219

Attorney for Flynn Warden and Rhonda Warden

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Notice of Distribution

This notice confirms a copy of the document docketed as number 92 in
case 2:02-CV-02702 Was distributed by faX, mail, or direct printing on
July 14, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

